Case 6:17-cv-00010-RWS-KNM Document 28 Filed 04/28/17 Page 1 of 3 PageID #: 200



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 PHENIX LONGHORN, LLC,                        §
                                              §
          Plaintiff,                          §
                                              §
 v.                                           §     Case No. 6:17-cv-00010-RWS-KNM
                                              §
 VIZIO, INC.,                                 §     JURY TRIAL DEMANDED
                                              §
          Defendant.                          §

             JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER

        Pursuant to the Court’s Order (Doc. No. 26), Plaintiff Phenix Longhorn, LLC and

 Defendant Vizio, Inc. hereby jointly move the Court to enter the attached Agreed Docket Control

 Order in the above entitled and numbered action.

         Dated: April 28, 2017

                                         Respectfully submitted,




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Case 6:17-cv-00010-RWS-KNM Document 28 Filed 04/28/17 Page 2 of 3 PageID #: 201



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                                       2
Case 6:17-cv-00010-RWS-KNM Document 28 Filed 04/28/17 Page 3 of 3 PageID #: 202



                                CERTIFICATE OF SERVICE


        This is to certify that all known counsel of record who are deemed to have consented to

 electronic service are being served with a copy of this document via the Court’s CM/ECF system

 per E. Dist. Tex. Loc. Ct. R. CV-5(a)(3) on this the 28th of April, 2017. Any other known counsel

 of record will be served with a copy of this document by email and/or facsimile transmission




                                                     Andy Tindel




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